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             UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF NEW YORK
             -------------------------------X
             UNITED STATES OF AMERICA,                                   MEMORANDUM
                                                                         and ORDER
                                   Plaintiff,

                    - against -                                          04-CR-774 (TCP)

             MICHAEL PESCATORE, et al.,

                                   Defendants,

             SANFORD EDMONSTON,

                                  Movant.
             -------------------------------X
             PLATT, District Judge

                            Defendant Sanford Edmonston (“Edmonston” or “Defendant”)

             moves this Court to suppress statements made to authorities during the search of

             the premises of Astra Motors, Inc. (“Astra Motors” or “Astra”) on June 17, 2003.

             For the following reasons, Defendant’s motion to suppress is DENIED.



                                                BACKGROUND

                            As an initial matter, it should be noted that law enforcement

             officials questioned the Defendant on three occasions on June 17, 2003.

                    1.      At approximately 11:00 a.m. Investigator (“Inv.”) Michael
                            Mulcahy, the Assistant Director of the Division of Field
                            Investigation for the New York State Department of Motor
                            Vehicles (“NYSDMV”), asked the Defendant three questions
                            while he (Mulcahy) and Detective (“Det.”) Robert Petro of the
                            Suffolk County Police Department (“SCPD”) searched the
                            Defendant’s office. Det. Petro then orally advised Edmonston of
                            his Miranda rights. (Gov. Opp. Def.’s Mot. Suppress at 3-5).



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                    2.      At approximately 12:00 p.m., SCPD Detective Hansen and Sargent
                            Gozloff interviewed Edmonston in his office (Id. at 5.)

                    3.      At approximately 1:00 p.m., Edmonston was placed under arrest,
                            and made statements to SCPD Detective Lawrence Conde while
                            being transported to a Suffolk County Police Precinct. (Id.)

                    The Government only seeks to introduce statements Edmonston made

             during his first discussion with law enforcement (Def.’s Letter, February 21, 2006

             at 1.) Thus, the interviews at 12:00 p.m. and 1:00 p.m. will not be addressed in

             this Memorandum and Order.

                    On June 17, 2003, approximately fifty (50) law enforcement officials from

             various local, state, and federal agencies conducted a search of Astra Motors

             pursuant to a duly issued and executed search warrant.1 (Gov Opp. Def.’s Mot.

             Suppress at 2.) Initially though, only two officers entered the premises: Inv.

             Mulcahy and Det. William O’Hearn of the SCPD. The two officers saw

             Edmonston upon entering the building and informed him that they had a warrant

             to search the premises.

                    Subsequently, the search team entered the building. One member of the

             team told the Astra employees to remain where they were until the building was

             secured. About this time, Det. Petro entered the first floor area and introduced



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                    While the Government’s memorandum states that fifty (50) officers participated in the
                    search, Investigator Mulcahy remembers only twenty-five (25) to thirty (30) officers.
                    (Tr. at 6.)




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             himself to Edmonston. He then asked Edmonston to open any safes in the

             building. Edmonston agreed and directed Det. Petro to an adjoining office, which

             he shared with Michael Pescatore. Edmonston then opened the safe and counted

             the money inside. (Transcript of hearing (“Tr.”) 04-774, February 10, 2006 at 11-

             12.)

                    Shortly thereafter, Inv. Mulcahy entered the office and began searching

             through Edmonston’s desk. Inv. Mulcahy found a document bearing the name

             “Phil Edmonston.” Mulcahy recognized the name from a prior investigation and

             knew it was Edmonston’s alias. (Tr. at 12-13.) He asked rhetorically “who is Phil

             Edmonston?” and the Defendant replied “it is not what you think.” Edmonston

             then explained that he had a criminal record and used the name Phil to prevent the

             police from bothering or harassing him. (Tr. at 13.)

                    Inv. Mulcahy went back to searching through the desk drawers. A short

             time later, he asked Edmonston whether he knew Gerard Lane, a person who was

             deceased, but whose name Astra Motors allegedly used to generate fraudulent

             paperwork. (Id.) Edmonston replied that he knew Lane. Inv. Mulcahy continued

             his search and came across a white cloth bag that contained a public Vehicle

             Identification Number (“VIN”) and a confidential VIN, which he knew it was

             illegal to possess. He then asked rhetorically “well, what are these?” The

             Defendant replied that they came off a wrecked car that Astra bought, and that he

             was just messing around with them. (Tr. at 14, 36.)




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                    Edmonston was never physically restrained during the search. Law

             enforcement officials never searched his person or displayed their weapons. (Tr.

             at 16.) Moreover, Inv. Mulcahy and Det. Petro did not prevent Edmonston from

             moving. In fact, Edmonston was standing while Inv. Mulcahy was sitting. (Tr. at

             34.)

                    Inv. Mulcahy testified that he did not hear Edmonston request an attorney.

             (Tr. at 31.) This is not inconsistent with Edmonston’s affidavit. While the

             Defendant states that he repeatedly requested a lawyer, he fails to state when or to

             whom he made such a request.



                                       PROCEDURAL HISTORY

                            On December 1, 2005, Edmonston submitted a motion to this

             Court requesting suppression of certain statements he made on June 17, 2003.

             Attached to his motion, Defendant submitted his own affidavit as well as

             affidavits from his attorneys Gary Lesser and Mark Cohen. On February 10,

             2006, an evidentiary hearing was held and the Government called one witness,

             Inv. Mulcahy. On February 21, 2006, the parties submitted supplemental briefs

             based on the hearing.



                                               DISCUSSION

             I. Custodial Interrogation

                            Defendant argues that Edmonston’s three statements must be

             suppressed because he made them (i) while “in custody”, (ii) before his “arrest”,

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             (iii) before being given any Miranda warnings, and (iv) in response to

             questioning by law enforcement officials.

                             For a Defendant’s Miranda rights to be triggered, the Defendant

             must be subjected to “custodial interrogation.” Illinois v. Perkins, 496 U.S. 292,

             296 (1990). The Second Circuit has held that the “in custody” requirement is met

             when a defendant’s freedom of action is “curtailed to a degree associated with

             formal arrest.” United States v. Newton, 369 F.3d 659, 671 (2d Cir. 2004)

             (quoting Berkemer v. McCarty, 468 U.S. 420, 440 (1984)). Courts consider a

             number of factors in determining the degree to which a defendant’s freedom has

             been curtailed. The first is whether a reasonable person in the suspect’s shoes

             would believe that his detention was not likely to be “temporary and brief.” The

             second is whether a person stopped under the circumstances would feel that he

             “was completely at the mercy of the police.” Id. at 675. A court will also

             consider whether the interrogation occurred in surroundings that were familiar to

             the suspect. Id.

                             In Newton, officers entered the defendant’s home to search for a

             gun. While conducting the search, officers handcuffed the defendant. Id. at 663-

             664. The Second Circuit relied on this fact and held that Newton was in custody

             for Miranda purposes. Applying the factors noted above, the Second Circuit

             reasoned that “a reasonable person finding himself placed in handcuffs by the

             police would ordinarily conclude that his detention would not necessarily be

             temporary or brief and that his movements were not totally under the control of

             the police.” Id. at 676.

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                            Here, in contrast, Edmonston was never physically restrained. The

             investigators’ search was quite brief, about a half an hour, and Edmonston had no

             reason to think it would last any longer than that. (Tr. at 35.) Finally, Edmonston,

             though not in his home, was questioned in the familiar surroundings of his office.

             See Beckwith, 425 U.S. at 347 (defendant was not in custody during in-home

             interview with IRS agent).

                            It should also be noted that Edmonston was questioned in his

             office during business hours by officials who did not have their guns on display

             (Tr. at 16.) Thus, the facts here are distinguishable from situations where the

             Second Circuit held that a suspect was in custody. See Orozco v. Texas, 394 U.S.

             324, 326-27 (1969) (defendant was in custody when confronted in his bedroom

             by four officers at 4 a.m.); see also United States v. Ali, 68 F.3d 1468, 1473 (2d

             Cir. 1995) (airline passenger was in custody where he was surrounded by seven

             customs officers with visible handguns who asked him to step away from the

             boarding area).

                            Defendant argues he was placed in custody because he was

             “[s]urrounded by dozens of law enforcement agents[.]” (Def.’s Letter, February

             21, 2006 at 3.) This statement has absolutely no basis in the record. Only two or

             three officers accompanied Defendant into his office. It is unreasonable to claim

             that law enforcement officials who were far removed from the Defendant’s

             presence and fully engaged in searching the yard of Astra Motors were somehow

             “surrounding” the Defendant.



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                              Defendant further argues that he was in custody because officers

             told him and other Astra employees to “stay where they were” while the officers

             secured the building. (Def.’s Letter, February 21, 2006 at 3.) However, a

             defendant is not in custody merely because he is told to remain in one place for a

             brief period. See United States v. Badmus, 325 F.3d 133, 139 (2d Cir. 2003)

             (defendant was not in custody despite being asked by agents to remain seated in

             his living room).2



             II. Defendant’s Request for Counsel

                              This Court has found that Defendant’s Miranda rights were not

             triggered because he was not questioned while in custody. However, even if

             Edmonston was in custody, this Court would still deny Defendant’s motion

             because he has failed to show that he requested an attorney during the search of

             his office. Defense counsel attempts to obscure this point by citing Defendant’s

             affidavit which states that he “repeatedly requested to speak to his lawyer on June

             17, 2003.” (Def.’s Letter, February 21, 2006 at 5.) Significantly, no time is

             specified for any such request. Counsel also points out that two of Edmonston’s

             attorneys attempted to speak to him that day but were not permitted to do so. (Id.)

             However, the affidavits from the attorneys do not indicate how or when they

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              Because this Court finds that Edmonston was not in custody, it does not reach the issue of
             whether the questioning constituted an interrogation for Miranda purposes. We note in passing
             however, that the three questions posed by the investigator were hardly an inquisition.




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             learned of the Defendant’s situation. The only logical conclusion this Court can

             draw is that no request was made to either Inv. Mulcahy or Det. Petro during their

             search of the Defendant’s office.



                                                 CONCLUSION

                            For the foregoing reasons, Defendant’s motion to suppress

             statements made to law enforcement is hereby DENIED.



             SO ORDERED.



                                                          /S/__________________
                                                          Thomas C. Platt, U.S.D.J.

             Dated: Central Islip, New York
             February 27, 2006




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